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Matthew R. Friedenberg mfriedenberg@velaw.com
Tel +1.212.237.0067 Fax +1.917.849.5385



October 2, 2024



VIA ECF

Honorable Leda D. Wettre
United States Magistrate Judge
USDC District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07102


          Re:       Admission Pro Hac Vice of Counsel on Consent
                    United States, et al. v. Apple Inc., Civil Action No. 2:24-cv-04055-JXN-LDW

Dear Judge Wettre:

       This firm represents Non-Party Samsung Electronics America, Inc. (“Samsung”) in the above-
referenced matter. Pursuant to Local Civil Rule 101.1(c), Samsung hereby submits this application for
the pro hac vice admission of Michael W. Scarborough, Dylan I. Ballard, M. Kevin Costello, and
Mackenzie G. Newman of the law firm Vinson & Elkins LLP. Counsel for Plaintiffs and Defendant
consent to this application.

          In support of this application, enclosed please find:

          1.        Declaration of Matthew R. Friedenberg in support of application for admission of Michael
                    W. Scarborough, Dylan I. Ballard, M. Kevin Costello, and Mackenzie G. Newman pro hac
                    vice;

          2.        Declaration of Michael W. Scarborough;

          3.        Declaration of Dylan I. Ballard;

          4.        Declaration of M. Kevin Costello;

          5.        Declaration of Mackenzie G. Newman; and

          6.        Proposed form of Order granting admission of counsel pro hac vice.




          Vinson & Elkins LLP Attorneys at Law                           The Grace Building, 1114 Avenue of the Americas, 32nd Floor
 Austin Dallas Dubai Dublin Houston London Los Angeles                                   New York, NY 10036-7708
   New York Richmond San Francisco Tokyo Washington                         Tel +1.212.237.0000 Fax +1.212.237.0100 velaw.com
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       Should the enclosed proposed form of Order is acceptable to Your Honor, we respectfully
request it be entered. Should Your Honor have any questions, we are available at your convenience.



                                                    Respectfully submitted,

                                                    /s/ Matthew R. Friedenberg

                                                    Matthew R. Friedenberg
cc:    All Counsel of Record via ECF
